         Case 1:04-cv-10981-PBS Document 1672 Filed 02/23/09 Page 1 of 3




                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

---------------------------------------------------------------x
                                                               :   MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                    :
         SALES PRACTICES AND                                   :   Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                         :
                                                               :   Judge Patti B. Saris
---------------------------------------------------------------x
                                                               :   Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                      :
                                                               :
Smith v. Pfizer Inc., 1:05-cv-11515-PBS                        :
                                                               :
---------------------------------------------------------------x

       DECLARATION OF ANDREW G. FINKELSTEIN, ESQ., IN OPPOSITION
       TO DEFENDANTS’ MOTION TO EXCLUDE THE SPECIFIC CAUSATION
               TESTIMONY OF DR. MARIS AND PROF. TRIMBLE

        I, Andrew G. Finkelstein, declare and state as follows:

        1.       My name is Andrew G. Finkelstein. I am a partner with the firm of Finkelstein &

Partners, LLP, attorneys for Plaintiff Ruth Smith, in this matter. I make this declaration based on

my own personal knowledge and information.

        2.       This declaration is submitted in opposition to Defendants Pfizer Inc. and Warner-

Lambert Company LLC’s Motion to exclude the specific causation testimony of Plaintiff’s

experts, Dr. Maris and Prof. Trimble. (ECF Doc. # 1627.)

        3.       Attached as Exhibit 1 is a true and correct copy of excerpts from the Deposition

of Gary Wayne Biggs (Feb. 8, 2008).

        4.       Attached as Exhibit 2 is a true and correct copy of excerpts from the Deposition

of Christopher Wood, DDS (June 7, 2008).

        5.       Attached as Exhibit 3 is a true and correct copy of excerpts from the Deposition

of Lewis Wesley Carnahan (Oct. 23, 2007).
        Case 1:04-cv-10981-PBS Document 1672 Filed 02/23/09 Page 2 of 3




       6.      Attached as Exhibit 4 is a true and correct copy of excerpts from the Deposition

of Ruth Smith (Apr. 12, 2007).

       7.      Attached as Exhibit 5 is a true and correct copy of excerpts from the Deposition

of Buford Hoskins (Oct. 24, 2007).

       8.      Attached as Exhibit 6 is a true and correct copy of excerpts from the Deposition

of Cindy Smith-Carlton (Oct. 3, 2007).

       9.      Attached as Exhibit 7 is a true and correct copy of excerpts from the Deposition

of Stewart Stowers, M.D. (June 28, 2007).

       10.     Attached as Exhibit 8 is a true and correct copy of excerpts from the Deposition

of James R. Cato, M.D. (June 29, 2007).

       11.     Attached as Exhibit 9 is a true and correct copy of excerpts from the Deposition

of Frank Berlacich, M.D. (June 7, 2007).

       12.     Attached as Exhibit 10 is a true and correct copy of excerpts from the Deposition

of Edward Mackey, M. D. (May 23, 2007).

       13.     Attached as Exhibit 11 is a true and correct copy of excerpts from the Deposition

of Professor Michael Trimble (Sept. 2-3, 2008).

       14.     Attached as Exhibit 12 is a true and correct copy of excerpts from the Deposition

of Ronald William Maris, Ph.D. (Sept. 30, Oct. 1, 20, 22, 2008) as referred to in the Declaration

of Ronald William Maris, Ph.D.

       15.     Attached as Exhibit 13 is a true and correct copy of excerpts from the Deposition

of Gayle Lawson (Oct. 4, 2007) as referred to in the Declaration of Ronald William Maris, Ph.D.




                                                2
        Case 1:04-cv-10981-PBS Document 1672 Filed 02/23/09 Page 3 of 3




        16.    Attached as Exhibit 14 is a true and correct copy of excerpts from the Deposition

of Sherri Hoskins (Oct. 24, 2007) as referred to in the Declaration of Ronald William Maris,

Ph.D.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

        Executed on February 23, 2009, in Newburgh, New York



                                                     /s/ Andrew G. Finkelstein
                                                     Andrew G. Finkelstein, Esquire
                                                     Finkelstein & Partners, LLP
                                                     Attorneys for Plaintiff Ruth Smith
                                                     1279 Route 300, P.O. Box 1111
                                                     Newburgh, NY 12551


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order No. 3 on February 23, 2009.


                                                     /s/ Andrew G. Finkelstein
                                                     Andrew G. Finkelstein, Esquire




                                                 3
